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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF DELAWARE

             In re:
                                                                              Chapter 11
                                                               1
             Prime Core Technologies Inc., et al.,
                                                                              Case No. 23-11161 (JKS)
                                                               Debtors.
                                                                              (Jointly Administered)


                                                             AFFIDAVIT OF SERVICE

                   I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
            noticing agent for the Debtors in the above-captioned cases.

                   On October 27, 2023, at my direction and under my supervision, employees of Stretto
            caused the following document to be served via first-class mail on the service list attached hereto
            as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

                      Debtors’ Motion for Entry of an Order Directing Witness to (I) Sit for a Rule 2004
                       Examination, (II) Produce Documents, and (III) Provide Sworn Interrogatory
                       Responses in Response to Rule 2004 Requests (Docket No. 356)

                    In addition to the methods of service set forth herein, parties who have requested electronic
            notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
            document via electronic service.


            Dated: October 30, 2023                                                    _____________________________
                                                                                              Andrew K. Fitzpatrick
            State of Colorado                )
                                             ) SS.
            County of Denver                 )

            Subscribed and sworn before me this 30th day of October 2023 by Andrew K. Fitzpatrick.


            _____________________________
               (Notary’s official signature)




            ______________________________________________
            1
              The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
            are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
            (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
Document Ref: PARIQ-A26XX-N33YS-LQ9ZQ                                                                                                     Page 1 of 5
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                                                 Exhibit A




Document Ref: PARIQ-A26XX-N33YS-LQ9ZQ                                                     Page 2 of 5
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                                                                                         Exhibit A
                                                                                   Served via First-Class Mail

                          Name                                       Attention                          Address 1                            Address 2                  City    State Zip
 Office of The U.S. Trustee for the District of Delaware   Attn: Joseph Cudia           844 King Street, Suite 2207                Lockbox 35                        Wilmington DE   19801
                                                                                        Attn: Robert J. Stark & Bennett S.
                                                                                        Silverberg & Kenneth J. Aulet & Jennifer
 Official Committee of Unsecured Creditors                 c/o Brown Rudnick LLP        M. Schein                                  7 Times Square                    New York   NY      10036
                                                                                        Attn: Tristan G. Axelrod & Matthew A.
 Official Committee of Unsecured Creditors                 c/o Brown Rudnick LLP        Sawyer                                     One Financial Center              Boston     MA      02111
                                                           c/o Womble Bond Dickinson    Attn: Donald J. Detweiler & Elazar A.      1313 North Market Street, Suite
 Official Committee of Unsecured Creditors                 (US) LLP                     Kosman                                     1200                              Wilmington DE      19801




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                                                 Exhibit B




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                                                                             Exhibit B
                                                                       Served via Electronic Mail
                              Name                                      Attention 1                     Attention 2                          Email
     Office of The U.S. Trustee for the District of Delaware   Attn: Joseph Cudia                                                joseph.cudia@usdoj.gov
                                                                                                                                 rstark@brownrudnick.com
                                                                                            Attn: Robert J. Stark & Bennett S.   bsilverberg@brownrudnick.com
                                                                                            Silverberg & Kenneth J. Aulet &      kaulet@brownrudnick.com
     Official Committee of Unsecured Creditors                 c/o Brown Rudnick LLP        Jennifer M. Schein                   jschein@brownrudnick.com
                                                                                            Attn: Tristan G. Axelrod & Matthew   taxelrod@brownrudnick.com
     Official Committee of Unsecured Creditors                 c/o Brown Rudnick LLP        A. Sawyer                            msawyer@brownrudnick.com
                                                               c/o Womble Bond Dickinson    Attn: Donald J. Detweiler & Elazar   don.detweiler@wbd-us.com
     Official Committee of Unsecured Creditors                 (US) LLP                     A. Kosman                            elazar.kosman@wbd-us.com




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